17 F.3d 1434NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Richard TOWNES, Jr., Petitioner-Appellant,v.Edward W. MURRAY, Director of the Virginia Department ofCorrections, Respondent-Appellee.
    No. 93-6618.
    United States Court of Appeals, Fourth Circuit.
    Jan. 10, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clark, Jr., Senior District Judge.  (CA-92-543-2).
      Richard Townes, Jr., appellant pro se.
      Robert Quentin Harris, Asst. Atty. Gen., Richmond, VA, for appellee.
      E.D.Va.
      DISMISSED.
      Before HALL and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.*  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Townes v. Murray, No. CA-92-543-2 (E.D. Va.  May 12, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         We deny Townes's motion to certify a question to the Virginia Supreme Court
      
    
    